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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

HELENA DIVISION
STEPHEN P. KELLY, Cause No. CV 20-69-H-SEH
Plaintiff,
vs. ORDER
ROBIN LaFLEUR,
Defendant.

 

 

Plaintiff Kelly moves to proceed in forma pauperis with an action alleging:
(1) “racketeering and corruption”; (2) “fraud with intent”; (3) “fraudulent
withholding of service information, address”; (4) “civil (RICO)”; and (5)
“conspiracy.”! These allegations arise from a contract for sale of and title to a

motor vehicle.”

Kelly is unable to pay the costs of the action. The filing fee is waived.?
A federal court has jurisdiction over disputes involving federal questions.‘

Kelly does not allege a “fraud” that supports a claim under the Racketeer-

Influenced and Corrupt Organizations Act.°

 

! See Compl. (Doc. 2) at 291,447.

2 See id. at 8-9 Jf 14-17.

3 Doe. 1; see 28 U.S.C. §§ 1914(a), 1915(a)(1).
4 See 28 U.S.C. § 1331.

> See Compl. at 14 9 23; 18 U.S.C. § 1961(1).
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A federal court has jurisdiction over disputes between citizens of different
states if the amount in controversy is $75,000 or more.® The dispute here does not
meet diversity requirements.’

There is no basis for federal jurisdiction grounded in a defendant’s
“concealment” of their address for service.®

As Kelly’s allegations preclude federal jurisdiction, the case is dismissed.’

ORDERED:

1. Kelly’s motion to proceed in forma pauperis!° is GRANTED.

2. This action is DISMISSED for lack of federal jurisdiction.

3, The clerk shall enter, by separate document, a judgment of dismissal.

4, Any appeal would not be taken in good faith.!!

DATED this _/ g day of September, 2020.

“S4m E. Haddon
United States District Court

 

® See 28 U.S.C. § 1332(a)(1), (b).

7 See Compl. at 4 Ff 8-9, 8 FF 14-15.

8 See id. at 13 22, 14 4 24.

9 See Fed. R. Civ. P. 12(h)(3).

10 Doc. 1.

'l See Fed. R. App. P. 24(a)(3)(A), (4)(B).

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